     Case 1:22-cr-00015-APM            Document 19        Filed 01/24/22   Page 1 of 2




                                       January 24, 2022

United States District Court Clerk
Eastern District of Texas


               RE:    The Unites States of America v. Elmer Stewart Rhodes III
                      Cause No(s).: 1:22-CR-00015

To the United States District Clerk:

        Please be advised that I have been retained to represent Mr. Rhodes in the above
referenced matter. Please enter my name as Attorney of Record, and direct any future
communication regarding this matter to my attention. Your assistance is greatly appreciated.
Should you have any questions, or require any further information from me, please do not
hesitate to contact my office.



                                                             Sincerely,


                                                             ___________________________
                                                             James Lee Bright
                                                             Attorney-at-Law
     Case 1:22-cr-00015-APM           Document 19           Filed 01/24/22   Page 2 of 2

                               CERTIFICATE OF SERVICE

                                                                        24th
       I, JAMES LEE BRIGHT, attorney for Defendant, certify that on the __________ day

   January
of _________________________,   22
                              20________, a copy of the foregoing was delivered to the

United States Attorney's office, via electronic delivery.




                                              __________________________________
                                                    JAMES LEE BRIGHT
